USCA4 Appeal: 23-1865      Doc: 46         Filed: 08/26/2024    Pg: 1 of 2




                                            UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                              No. 23-1865


        STEPHANE J. WANTOU SIANTOU,

                            Plaintiff - Appellant,

                     v.

        DK ASSOCIATES, LLC; DANIEL E. KENNEY, Esq.,

                            Defendants - Appellees.



        Appeal from the United States District Court for the District of Maryland, at Greenbelt.
        Paula Xinis, District Judge. (8:22-cv-01470-PX)


        Submitted: August 22, 2024                                        Decided: August 26, 2024


        Before WILKINSON, WYNN, and RICHARDSON, Circuit Judges.


        Affirmed by unpublished per curiam opinion.


        Stephane J. Wantou Siantou, Appellant Pro Se. Daniel Edward Kenney, DK
        ASSOCIATES, LLC, Chevy Chase, Maryland, for Appellees.


        Unpublished opinions are not binding precedent in this circuit.
USCA4 Appeal: 23-1865         Doc: 46      Filed: 08/26/2024     Pg: 2 of 2




        PER CURIAM:

               Stephane J. Wantou Siantou appeals the district court’s order granting Defendants’

        Fed. R. Civ. P. 12(b)(6) motion and dismissing his amended civil action for failure to state

        a claim. We have reviewed the record and find no reversible error. Accordingly, we affirm

        the district court’s order. Siantou v. DK Assocs., LLC, No. 8:22-cv-01470-PX (D. Md. July

        21, 2023). We dispense with oral argument because the facts and legal contentions are

        adequately presented in the materials before this court and argument would not aid the

        decisional process.

                                                                                       AFFIRMED




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